
660 S.E.2d 896 (2008)
In re TOBACCOVILLE USA, INC.
No. 49P08.
Supreme Court of North Carolina.
March 17, 2008.
Jason T. Strickland, New Bern, for Tobaccoville &amp; Phillips.
G. Patrick Murphy, Special Deputy Attorney General, Kathleen Mary Barry, Assistant Attorney General, for State of NC.
The following order has been entered on the motion filed on the 14th day of March 2008 by Respondents (Tobaccoville &amp; Phillips) for Reconsideration of Respondents' Motion for Temporary Stay:
"Motion Denied by order of the Court in conference this the 17th day of March 2008."
